         Case 2:18-cv-03902-ER Document 16 Filed 11/14/18 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

HARRY VERNON,                              :
                                           :
                      Plaintiff,           :
                                           :
      vs.                                  :      No. 2:18-CV-03902-ER
                                           :
INTERNATIONAL PAPER COMPANY                :
and OWENS-ILLINOIS, INC.,                  :
                                           :
                      Defendants.          :

                DEFENDANT OWENS-ILLINOIS, INC.’S
   MOTION FOR LEAVE TO FILE A REPLY IN SUPPORT OF ITS MOTION TO
            DISMISS PLAINTIFF’S AMENDED COMPLAINT
     UNDER FED. R. CIV. P. 12(B)(6) FOR FAILURE TO STATE A CLAIM

      Owens-Illinois, Inc. moves for leave to file a reply in support of its motion to

dismiss Plaintiff’s Amended Complaint under Fed. R. Civ. P. 12(b)(6) for failure to state

a claim. The relief is warranted to address the arguments Plaintiff raised as to choice of

law and his request for leave to file an amended complaint.
  Case 2:18-cv-03902-ER Document 16 Filed 11/14/18 Page 2 of 3



Dated: November 14, 2018     Respectfully submitted,

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          Case 2:18-cv-03902-ER Document 16 Filed 11/14/18 Page 3 of 3



                             CERTIFICATE OF SERVICE

      I hereby certify that on November 14, 2018, I served a true and correct copy of

these papers upon all counsel of record via electronic filing. These documents have been

electronically filed and are available for viewing and downloading from the CM/ECF

system.

                                         /s/ Brian O. Watson
                                         Attorney for Owens-Illinois, Inc.
